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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION


 JENNIFER VANDERSTOK et al.,

         Plaintiffs,                                    Case No. 4:22-cv-00691-O

    v.

 MERRICK GARLAND, in his official
 capacity as Attorney General of the United
 States et al.,

         Defendants.


                          DEFENDANTS’ NOTICE OF CONVENTIONAL
                       FILING OF CERTIFIED ADMINISTRATIVE RECORD

          Please take notice that Defendants have conventionally filed with the Clerk of Court a

certified copy of the Administrative Record in this case, together with the Index of the Administrative

Record. The Certification of the Administrative Record is attached as an exhibit hereto. The

Administrative Record has not been filed electronically because its contents are tens of thousands of

pages in length. Defendants have served a true and correct copy of the certified Administrative Record

via overnight mail to all parties in this action.

DATED: October 24, 2022                                 Respectfully submitted,


                                                        BRIAN M. BOYNTON
                                                        Principal Deputy Assistant Attorney General

                                                        ALEXANDER K. HAAS
                                                        Director, Federal Programs Branch

                                                        LESLEY FARBY
                                                        Assistant Director, Federal Programs Branch

                                                        /s/ Daniel Riess
                                                        DANIEL RIESS
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                                 CERTIFICATE OF SERVICE

       On October 24, 2022, I electronically submitted the foregoing document with the clerk of

court for the U.S. District Court, Northern District of Texas, using the electronic case filing system

of the court. I hereby certify that I have served all parties electronically or by another manner

authorized by Federal Rule of Civil Procedure 5(b)(2).

                                                                       /s/ Daniel Riess




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